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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

  Joel Vangheluwe and Jerome
  Vangheluwe,
                 Plaintiffs,
        v.
  GotNews, LLC, Freedom Daily,
  LLC, Charles C. Johnson, Alberto            Case No. : 2:18-cv-10542-LJM-EAS
  Waisman, Jeffrey Rainforth, Jim
  Hoft, David Petersen, Jonathan Spiel,       Hon. Laurie J. Michelson
  Shirley Husar, Eduardo Doitteau,
  Lita Coulthart-Villanueva, Kenneth          Mag. Elizabeth A. Stafford
  Strawn, Patrick Lehnhoff, Beth
  Eyestone, Lori Twohy, Raechel
  Hitchye, James Christopher Hastey,
  Christopher Jones, Connie Comeaux,
  Gavin McInnes, Richard Weikart,
  and Paul Nehlen,
                 Defendants.




                       JUDGMENT IN A CIVIL ACTION

       Pursuant to Plaintiff Joel Vangheluwe’s Notice of Acceptance of Defendant

 Charles Johnson’s Offer of Judgment [ECF Doc. 32] (the “Offer of Judgment”), the

 Clerk of the Court enters this final judgement as a separate document pursuant to

 Federal Rule of Civil Procedure 58(a).

       Accordingly, it is hereby ORDERED and ADJUDGED that Plaintiff Joel

 Vangheluwe shall recover from Defendant Charles Johnson the total sum of $4,990,


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 inclusive of Plaintiff Joel Vangheluwe’s costs and attorneys’ fees accrued through

 May 16, 2018, to be paid by Defendant Charles Johnson for all causes of actions and

 claims for damages set forth in Plaintiffs’ Amended Complaint as to Defendant

 Charles Johnson.

       It is further ORDERED and ADJUDGED that Plaintiff Joel Vangheluwe

 shall recover from Defendant Charles Johnson post-judgment interest as a rate of

 2.44% per annum.

       SIGNED THIS ____________ day of _______________, 2018.



                                             CLERK OF COURT



                                             ______________________________
                                             Signature of Clerk or Deputy Clerk




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